                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

                                                        §
    In re:                                              §   Chapter 11
                                                        §
                                                        §   Case No. 20-81688-CRJ11
    REMINGTON OUTDOOR COMPANY,                          §
    INC. et al.,                                        §   Jointly Administered
                                                        §
                   Debtors.                             §
                                                        §


     SANDY HOOK FAMILIES’ REPORT TO COURT CONCERNING MOTION FOR
    LEAVE OF THE COURT TO CONDUCT DISCOVERY PURSUANT TO RULE 20041

             1.   In advance of the August 27, 2020, hearing on their Rule 2004 motion [Docket No.

281], the Sandy Hook Families2 respectfully provide this update to the Court on the current status

of the discovery sought from the Debtors pursuant to their Rule 2004 motion. As a preliminary

matter, the discovery sought by the Families directly targets the foundation, motive, and legitimacy

of the Debtors’ filing in an effort to learn whether the relief sought in this Court is warranted. Such

discovery is irrelevant to the Sandy Hook Wrongful Death Action. That case concerns the

marketing and sales practices of certain Debtors, and the time period in question is wholly distinct

and focused on 2006 through 2012, when the shooting at Sandy Hook occurred. The financial

status of the Debtors bears no relevance whatsoever to the state court case, and the Families agree

that this Court is not the proper forum to conduct discovery on the merits of the state court claims.


1
      The Debtors’ Response to the Families’ Rule 2004 Motion was received after 2PM (CST) the
      day prior to the scheduled hearing on the Families Rule 2004 Motion, more than two days after
      the deadline for Debtors to file a response. Given this delay, this submission does not constitute
      a reply to the Debtors’ Response, and the Families reserve their right to respond in greater
      detail either prior to or at the hearing.
2
      Capitalized terms that are not defined herein have the meanings given to them in the Sandy
      Hook Families’ Rule 2004 Motion.


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Nevertheless, in light of the concern expressed by the Court about the scope of the initial requests,

the Families have undertaken substantial efforts to narrow their discovery requests.3 The Debtors

have not produced a single document responsive to the narrowed discovery requests that have been

pending for over two weeks, even though objections to the sale are due in less than a week. The

Families need discovery in order to have a full and fair opportunity to evaluate and, if necessary,

challenge the sale, and since time is short, the Families require the Court’s assistance in obtaining

production.

       2.      Counsel for the Debtors and the Families have met and conferred three times since

serving the discovery requests on August 11, and the Families have withdrawn (without being

asked) twelve document requests and interrogatories, nearly half of their original requests. The

Families have also agreed to modify certain requests to either consolidate or further limit the

requested materials and have proposed reasonably tailored search terms and date ranges to aid in

the efficient collection of responsive materials. The Families have further agreed that any

documents produced in this matter will only be used in this matter.

       3.      Despite the Families’ efforts to tailor their requests, Debtors have not produced any

documents to the Families and have only agreed to produce communications with pre-petition

lenders and bidding parties relating to the Families’ Wrongful Death Action, as well as a list of

potential bidders. The remaining requests at issue can be categorized as follows:




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    The Families’ original set of document requests are attached to the Rule 2004 Motion as
    Exhibit B.


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       a. Documents related to the financial condition of the Debtors in the immediate period

            prior to their filing of this bankruptcy, including valuation of assets, business,

            liabilities, debt, or equity securities (Requests 1, 2, and 10)4;

       b. Documents related to how tort liabilities like the Sandy Hook Wrongful Death Action

            may have factored into the decision to file for bankruptcy and why such liabilities were

            omitted from the schedule of unsecured creditors (Requests 4, 5, and 15);

       c. Documents related to potentially available insurance proceeds that could be used to pay

            tort claim liabilities (Requests 16 and 17); and

       d. Documents relating to any releases Debtors intend to request in connection with the

            chapter 11 cases and 363 sale (Request 18).

       4.       The Sandy Hook Families maintain that each of the above categories of information

is relevant to their preparation of a sale objection that seeks to ensure that any sale does not

unlawfully prejudice their claims, specifically confirming the following points. First, the Families

seek discovery related to whether the Debtors will be administratively insolvent after the proposed

sale closes, assuming it is approved, and therefore lack the resources to claims. To the extent that

applicable insurance coverage is available to make tort claimants whole, the Families want to

ensure that there are sufficient resources to defend and ensure liquidation of the claims. Second,

there is currently only limited information available about the impact a sale may have on tort

claims, limiting the Families’ ability to ensure that the contemplated sale does not improperly

release claims. Third, the Families need to confirm that a sale does not impact applicable insurance


4
    The Families have offered, as a compromise position on category (a), that they would be
    willing to accept materials related to the Debtors’ financial condition that are produced to the
    Unsecured Creditors Committee. Debtors have not agreed to this offer and take the position
    that the Families are not entitled to these materials based on their status as an unsecured
    creditor.


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coverage. Lastly, at the Sale Hearing, the Debtors will be required to carry their evidentiary burden

to demonstrate that the proposed sale is proper under the facts and circumstances of these cases.

The Families are entitled to discovery designed to test these factual assertions and confirm that

this rushed sales process is in fact necessary under the facts and circumstances of these cases, and

that the Debtors are not improperly using chapter 11 to selectively discharge tort liabilities while

their businesses otherwise continue without interruption. For example, the Families still do not

have any information about the Debtors’ 2020 financial performance.

       5.      The materials requested in the categories above are essential for the Families to

properly evaluate the proposed sale and to present any objection at the Sale Hearing. The requests

described above directly relate to understanding what assets may be available after the sale and

how a sale may impact the rights of tort and wrongful death claimants. To understand whether

there was a good faith basis for the Debtors to commence these chapter 11 cases at all, a gating

issue that should be addressed at the outset of these proceedings, the Families are entitled to

discovery relating to whether there is any evidence that these chapter 11 cases were filed for an

improper purpose, and if so, whether there was any intent to avoid specific liabilities for

impermissible reasons (category (b)). With respect to category (c), the Families are concerned that

a quick sale will leave no funding to allow for tort claims to be liquidated and/or proceed against

applicable coverage, amounting to a substantial windfall to insurers and potentially leaving

millions in collectable funds on the table.

       6.      The Debtors take the position that they are unwilling to produce these documents

because the Families have not yet filed an objection to the sale. The Debtors further assert that

any objection to the sale is premature, as the identity of the winning bidder and the terms of the

sale will only be known at a later date. The Families readily concede that these specific data points




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will be unknown as of September 1, the deadline for sale objections. However, in accordance with

the expedited timeline for the sale—a timeline advocated by the Debtors—it is necessary for the

Families to file a sale objection before this information is known in order to adequately protect

their rights. Given the limited time available for the Families to ensure that a sale does not

prejudice their rights as creditors, the Families have repeatedly emphasized how important it is

that relevant materials be produced as soon as possible.

       7.      In addition to substantially modifying their original requests and agreeing to

stipulate that any discovery produced in this proceeding cannot be used in any other proceeding,

the Families have affirmed to the Debtors that they (i) are not seeking any materials related to the

merits of their state court claims and (ii) do not expect to receive any documents relating to

strategic evaluation of the merits of their claims in the state court action. Nonetheless, the Debtors

now insist that only certain of the Families’ bankruptcy counsel in this matter be allowed to review

any documents produced by the Debtors and that the Families’ long-standing counsel in

Connecticut, as well as any financial adviser, not be given access to the documents despite the fact

that the Families’ Connecticut counsel has filed notices of appearance in this matter. Given the

scope of agreed-upon discovery, its inapplicability to the merits of the underlying action, and the

Families’ agreement that any materials produced in this action cannot be used in any other

proceeding, the Debtors have no right to interfere with the Families’ choice of counsel. In re Jet

1 Ctr., Inc. 310 B.R. 649, 654 (Bankr. M.D. Fla. 2004) (“The party’s choice of counsel is entitled

to substantial deference.”).




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Dated: August 26, 2020
       Huntsville, Alabama


                                                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

                  This is to certify that I have this the 26th day of August, 2020 served the
   foregoing pleading upon the Debtor’s 40 largest unsecured creditors, all counsel of record
   requesting notice, all other persons requesting notice, and the Office of the Bankruptcy
   Administrator by electronic service through the Court’s CM/ECF system and/or by
   placing a copy of same in the United States Mail, postage pre-paid.


                                                        /s/ Tazewell T. Shepard IV
                                                        Tazewell T. Shepard IV




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